AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                             District
                                                       __________     of Arizona
                                                                  District of __________
                    New Parent World, LLC
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 3:23-CV-08089-DGC
                                                                              )
            True To Life Productions, Inc., et al
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
                                                Texas Health and Human Services Commission
To:                                c/o Office of the Attorney General, 300 W. 15th Street, Austin, TX 78701
                                                       (Name of person to whom this subpoena is directed)

      ✔
      ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:   In lieu of producing the original items listed in "Exhibit A" attached hereto in-person for our inspection and
           copying, the Custodian of Records may mail or deliver true copies of the items requested before the date and
           time below, thereby avoiding the need for personal appearance.


 Place: Delgado Entertainment Law, PLLC                                                 Date and Time:
          3295 N. Drinkwater Blvd., Suite 9
          Scottsdale, AZ 85251                                                                               08/13/2024 4:30 pm


     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        07/26/2024

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) New Parent World
                                                                        , who issues or requests this subpoena, are:
Krystle Delgado, 3295 North Drinkwater Blvd., Suite 9, Scottsdale, Arizona 85251, krystle@delgadoentertainmentlaw.com

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 3:23-CV-08089-DGC

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
 1                                      EXHIBIT “A”
 2
 3                                 1.     INSTRUCTIONS
 4          A.     This shall be deemed to be a request for the production by you of all
     documents enumerated below, whether prepared by or for you or by any other party or any
 5   other person, that are in your possession, custody, control, or in the possession, custody or
     control of your attorneys, accountants, consultants, receivers, employees, agents or anyone
 6   acting on your behalf.
 7
            B.      When reference is made to any date or figure, in addition to the date or figure
 8   specified, the reference is intended to connote an approximation unless otherwise specified.

 9            C.    Whenever the singular form of a noun is used in these requests for production
     of documents, it is intended to and does apply as well to the plural form of the noun.
10   Whenever, the plural form of a noun is used in these requests, for production of documents,
     it is intended to and does apply as well to the singular form of the noun unless otherwise
11   specified.
12           D.     In responding to the requests, you are to designate the paragraph of these
     requests to which each such document is responsive, unless the request is objected to, in
13   which event the reasons for the objection shall be stated specifically. If objection is made
     to part of an item, category or request, that part shall be specified, and production shall be
14   made for the remaining parts.
15          E.    You are required to organize and label the documents you produce to
16
     correspond with the categories set forth in this request; if you are currently in business, you
     may produce documents as they are kept in the usual course of your business.
17
            F.     In the event that any document called for by this request has been destroyed,
18   that document is to be identified as follows: addresser, addressee, indicated or blind copies,
     date, subject matter, number of pages, attachments or appendices, all persons to whom
19   distributed, shown or explained, date of destruction, manner of destruction, reason for
     destruction, person authorizing destruction and person destroying that document.
20
           G.      If you allege that any document called for by this request is not in your
21   possession or the possession of your attorney, that document is to be identified the same as
     any destroyed document and you are to state the name and address of the person who does
22   have possession of said document.
23         H.      If you respond to this request with a response that is complete when made,
     you are nevertheless under a duty to supplement the response to include documents or
24   information thereafter acquired.
25           I.     If you obtain information which shows (and failure to amend your response
26   in light of such information is in substance a knowing concealment) your earlier response
     was incorrect when made, or your earlier response, although correct when made, is no
27   longer true, you must supplement your response.

28         J.    These requests for production of documents are continuing requests. If, after
     producing the documents requested herein, you obtain or find further documents
     responsive to these requests, You are required to produce such additional documents.
 1
            K.      If in response to the requests you decline, withhold, or refuse to produce any
 2   document based upon a claim of privilege, you are to provide the following information to
 3
     identify the following information:

 4
            1.       An identification of the document with reasonable specificity and
     particularity, including its nature (memo, letter, etc.), title and date;
 5          2.       The exact nature of the privilege asserted;
            3.       All of the facts upon which your claim of privilege is based or which supports
 6
     said claim;
 7          4.       With respect to each person who was present at the time the document was
     prepared:
 8
                     (a)     Their name and last known business and residential address and
 9                           telephone numbers, and
                     (b)     Their employer and job title or capacity at the time that the document
10
                             was prepared.
11          5.       With respect to each individual and entity to whom the original or a copy of
     the document was sent:
12
                     (a)     Their name and last known business and residential addresses and
13                           telephone numbers;
                     (b)     Their employer and job title or capacity at the time that original or the
14                           copy of the document was sent to them;
15                   (c)     The date(s) when the document or copy was sent; and
                     (d)     By whom the document or copy was sent.
16          6.       With respect to each individual and entity who to the best of your knowledge,
17   information and belief has seen the original or any copy of the document:
                     (a)     Their name and last known business and residential addresses and
18                           telephone numbers;
19                   (b)     Their employer and job title or capacity at the time the document or
                             copy was seen by them;
20                   (c)     The date(s) when the document or copy was seen by them.
21          7.       With respect to each individual and entity who to the best of your knowledge,
     information and belief had possession or custody of the original or any copy of the
22   document:
23                   (a)     Their name and last known business and residential addresses and
                             telephone numbers;
24                   (b)     The inclusive dates during which they had possession or custody of
25                           the document or copy; and
                     (c)     Their employer and job title or capacity at the time they had
26                           possession of the document or copy.
            8.       Identify with reasonable specificity and particularity each document which
27
     refers to, discusses, analyzes, or comments upon the document which you claim is
28   privileged, or which contains any or all of its contents.



                                                -2-
                                    2.     GENERAL DEFINITIONS
 1
 2
             As used herein and unless the context requires otherwise, the terms used in the foregoing
 3   Instructions, in these General Definitions, and in the following Request for documents shall have
     the following meanings:
 4
 5          “And” and “or” and any other conjunctions or disjunctions used herein shall be read both
     conjunctively and disjunctively so as to indicate the topic for discussion may include any issue all
 6
     or any issue mentioned by the listed topic for discussion in which any conjunction or disjunction
 7   appears.
 8
 9
            “Any”, “each” and “all” shall be read to be all inclusive.

10          “Communication” or “Communications” means the transmittal of information (in the
11   form of facts, inquiries, or otherwise) by any means, including any meeting, conversation,
12   discussion, conference, correspondence, message, or other written or oral transmission, exchange,
     or transfer of information in any form between two or more persons, including by telephone,
13   facsimile, telegraph, telex, e-mail, or other medium.
14
15          "Content" shall be defined as any media, digital or physical, including but not limited to
     pictures, videos, written, audio, or other reasonably related mediums of media.
16
17         "Defendants" refer to True To Life Productions, Inc.; Heritage House ’76, Incorporated;
18   and Brandon Monahan.

19
             “Document” or “Documents” are used herein in their customary broad sense, and mean
20   any kind of printed, recorded, written, graphic, or photographic matter (including tape recordings),
21   however printed, produced, reproduced, coded or stored, of any kind of description, whether sent
     or received, or not, including originals, copies, reproductions, facsimiles, drafts, and both sides
22
     thereof, and including without limitation, papers, books, accounts, ledgers, journals, books or
23   memoranda, telegrams, cables, wire transfers, notes, notations, e-mails, work papers, inter and
24   intra-office communications to, between or among directors, officers, agents or employees,
     transcripts, minutes, reports, and recordings of telephone or other conversations or of interviews
25
     or of conferences, or of committee meetings, or of other meetings, agreements, contracts, invoices,
26   statistical records, data sheets, computer tapes or disks, magnetic tapes, punch cards, computer
27   printouts, computer programs, computer program coding sheets, microfilms, microfiche, all other
     records kept by electronic, photographic or mechanical means, and things similar to any of the
28
     foregoing, regardless of their author or origin, of any kind. THE TERM “DOCUMENT”



                                                     -3-
 1
     INCLUDES ALL COPIES OF A DOCUMENT WHICH CONTAIN ANY ADDITIONAL
     WRITING, UNDERLINING, NOTES, DELETIONS, OR ANY OTHER MARKINGS OR
 2   NOTATIONS, OR ARE OTHERWISE NOT IDENTICAL COPIES OF THE ORIGINAL.
 3
 4          "THHS" means Texas Health and Human Services.

 5
            “Production Date” means the first date upon which you produce documents in accordance
 6   with these Requests.
 7
            “Related To” or “Relating To” a given subject is to be construed broadly and includes
 8
     any item that identifies, describes, deals with, comments upon, or is pertinent to that subject in
 9   any way.
10
            “You” or “Your” means Texas Pregnancy Care THHS and its agents, affiliates,
11
12   subsidiaries, parent companies, representatives, employees, managers, members, shareholders and
13   attorneys.
14
                     3.     REQUESTED DOCUMENTS AND INFORMATION
15
     Please produce copies of the following:
16
17      1. Agreements:
             o Any and all agreements between the THHS and any Defendant, including but not
18              limited to licensing agreements for or related to breastfeeding or newborn care
19              Content from January 1, 2019 to present.
             o All subcontractor agreements with any Defendant involving the distribution or use
20              of any breastfeeding or newborn care Content of any kind from January 1, 2019 to
21              present.
22      2. Communications:
23           o All communications between the THHS and any Defendant related to
               breastfeeding or newborn care Content, including but not limited to emails, letters,
24             and meeting minutes from January 1, 2019 to present.
25           o All communications between the THHS and any other entity or individual
               involving breastfeeding or newborn care Content acting on behalf of any
26             Defendant from January 1, 2019 to present.
             o All communications related to requests for edits or clarifications on breastfeeding
27
               or newborn care Content from the THHS to any Defendant from January 1, 2019
28             to present.



                                                    -4-
 1
     3. Payment Records:
 2         o Documents and communications related to any payments made to any Defendant
             for the licensing, distribution, or use of breastfeeding or newborn care Content
 3
             from January 1, 2019 to present.
 4         o Documents and communications of any payments made to any Defendant related
             to any services provided by any Defendant to the THHS related to breastfeeding or
 5
             newborn care Content from January 1, 2019 to present.
 6
     4. Access and Distribution Logs:
 7
           o Any logs or records showing access to or distribution of breastfeeding or newborn
 8            care Content provided by any Defendant to, or on behalf of, the THHS from
              January 1, 2019 to present.
 9
           o Any logs or records showing edits or clarifications made on any breastfeeding or
10            newborn care Content provided by any Defendant to the THHS from January 1,
              2019 to present.
11
12   5. Educational Materials:
          o Copies of all educational materials (e.g., videos, written materials) provided by
13           any Defendant relating to breastfeeding or newborn care Content provided to, or
14           distributed by, the THHS or any of its subcontractors from January 1, 2019 to
             present.
15
16   6. Certifications & Approvals:
           o Copies of any certifications, licenses, or approvals provided by THHS to any
17             Defendant relating to breastfeeding or newborn care Content from January 1, 2019
18             to present.

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                                               -5-
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                             District
                                                       __________     of Arizona
                                                                  District of __________
                    New Parent World, LLC
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 3:23-CV-08089-DGC
                                                                              )
            True To Life Productions, Inc., et al
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
                                                Texas Pregnancy Care Network
To:                   c/o John McNamara, 1101 S. Capital of Texas HWY, BLDG K, Suite 250, Austin, TX 78746
                                                       (Name of person to whom this subpoena is directed)

      ✔
      ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:   In lieu of producing the original items listed in "Exhibit A" attached hereto in-person for our inspection and
           copying, the Custodian of Records may mail or deliver true copies of the items requested before the date and
           time below, thereby avoiding the need for personal appearance.


 Place: Delgado Entertainment Law, PLLC                                                 Date and Time:
          3295 N. Drinkwater Blvd., Suite 9
          Scottsdale, AZ 85251                                                                               08/13/2024 4:30 pm


     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        07/26/2024

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) New Parent World
                                                                        , who issues or requests this subpoena, are:
Krystle Delgado, 3295 North Drinkwater Blvd., Suite 9, Scottsdale, Arizona 85251, krystle@delgadoentertainmentlaw.com

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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Civil Action No. 3:23-CV-08089-DGC

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
 1                                      EXHIBIT “A”
 2
 3                                 1.     INSTRUCTIONS
 4          A.     This shall be deemed to be a request for the production by you of all
     documents enumerated below, whether prepared by or for you or by any other party or any
 5   other person, that are in your possession, custody, control, or in the possession, custody or
     control of your attorneys, accountants, consultants, receivers, employees, agents or anyone
 6   acting on your behalf.
 7
            B.      When reference is made to any date or figure, in addition to the date or figure
 8   specified, the reference is intended to connote an approximation unless otherwise specified.

 9            C.    Whenever the singular form of a noun is used in these requests for production
     of documents, it is intended to and does apply as well to the plural form of the noun.
10   Whenever, the plural form of a noun is used in these requests, for production of documents,
     it is intended to and does apply as well to the singular form of the noun unless otherwise
11   specified.
12           D.     In responding to the requests, you are to designate the paragraph of these
     requests to which each such document is responsive, unless the request is objected to, in
13   which event the reasons for the objection shall be stated specifically. If objection is made
     to part of an item, category or request, that part shall be specified, and production shall be
14   made for the remaining parts.
15          E.    You are required to organize and label the documents you produce to
16
     correspond with the categories set forth in this request; if you are currently in business, you
     may produce documents as they are kept in the usual course of your business.
17
            F.     In the event that any document called for by this request has been destroyed,
18   that document is to be identified as follows: addresser, addressee, indicated or blind copies,
     date, subject matter, number of pages, attachments or appendices, all persons to whom
19   distributed, shown or explained, date of destruction, manner of destruction, reason for
     destruction, person authorizing destruction and person destroying that document.
20
           G.      If you allege that any document called for by this request is not in your
21   possession or the possession of your attorney, that document is to be identified the same as
     any destroyed document and you are to state the name and address of the person who does
22   have possession of said document.
23         H.      If you respond to this request with a response that is complete when made,
     you are nevertheless under a duty to supplement the response to include documents or
24   information thereafter acquired.
25           I.     If you obtain information which shows (and failure to amend your response
26   in light of such information is in substance a knowing concealment) your earlier response
     was incorrect when made, or your earlier response, although correct when made, is no
27   longer true, you must supplement your response.

28         J.    These requests for production of documents are continuing requests. If, after
     producing the documents requested herein, you obtain or find further documents
     responsive to these requests, You are required to produce such additional documents.
 1
            K.      If in response to the requests you decline, withhold, or refuse to produce any
 2   document based upon a claim of privilege, you are to provide the following information to
 3
     identify the following information:

 4
            1.       An identification of the document with reasonable specificity and
     particularity, including its nature (memo, letter, etc.), title and date;
 5          2.       The exact nature of the privilege asserted;
            3.       All of the facts upon which your claim of privilege is based or which supports
 6
     said claim;
 7          4.       With respect to each person who was present at the time the document was
     prepared:
 8
                     (a)     Their name and last known business and residential address and
 9                           telephone numbers, and
                     (b)     Their employer and job title or capacity at the time that the document
10
                             was prepared.
11          5.       With respect to each individual and entity to whom the original or a copy of
     the document was sent:
12
                     (a)     Their name and last known business and residential addresses and
13                           telephone numbers;
                     (b)     Their employer and job title or capacity at the time that original or the
14                           copy of the document was sent to them;
15                   (c)     The date(s) when the document or copy was sent; and
                     (d)     By whom the document or copy was sent.
16          6.       With respect to each individual and entity who to the best of your knowledge,
17   information and belief has seen the original or any copy of the document:
                     (a)     Their name and last known business and residential addresses and
18                           telephone numbers;
19                   (b)     Their employer and job title or capacity at the time the document or
                             copy was seen by them;
20                   (c)     The date(s) when the document or copy was seen by them.
21          7.       With respect to each individual and entity who to the best of your knowledge,
     information and belief had possession or custody of the original or any copy of the
22   document:
23                   (a)     Their name and last known business and residential addresses and
                             telephone numbers;
24                   (b)     The inclusive dates during which they had possession or custody of
25                           the document or copy; and
                     (c)     Their employer and job title or capacity at the time they had
26                           possession of the document or copy.
            8.       Identify with reasonable specificity and particularity each document which
27
     refers to, discusses, analyzes, or comments upon the document which you claim is
28   privileged, or which contains any or all of its contents.



                                                -2-
                                    2.     GENERAL DEFINITIONS
 1
 2
             As used herein and unless the context requires otherwise, the terms used in the foregoing
 3   Instructions, in these General Definitions, and in the following Request for documents shall have
     the following meanings:
 4
 5          “And” and “or” and any other conjunctions or disjunctions used herein shall be read both
     conjunctively and disjunctively so as to indicate the topic for discussion may include any issue all
 6
     or any issue mentioned by the listed topic for discussion in which any conjunction or disjunction
 7   appears.
 8
 9
            “Any”, “each” and “all” shall be read to be all inclusive.

10          “Communication” or “Communications” means the transmittal of information (in the
11   form of facts, inquiries, or otherwise) by any means, including any meeting, conversation,
12   discussion, conference, correspondence, message, or other written or oral transmission, exchange,
     or transfer of information in any form between two or more persons, including by telephone,
13   facsimile, telegraph, telex, e-mail, or other medium.
14
15          "Content" shall be defined as any media, digital or physical, including but not limited to
     pictures, videos, written, audio, or other reasonably related mediums of media.
16
17         "Defendants" refer to True To Life Productions, Inc.; Heritage House ’76, Incorporated;
18   and Brandon Monahan.

19
             “Document” or “Documents” are used herein in their customary broad sense, and mean
20   any kind of printed, recorded, written, graphic, or photographic matter (including tape recordings),
21   however printed, produced, reproduced, coded or stored, of any kind of description, whether sent
     or received, or not, including originals, copies, reproductions, facsimiles, drafts, and both sides
22
     thereof, and including without limitation, papers, books, accounts, ledgers, journals, books or
23   memoranda, telegrams, cables, wire transfers, notes, notations, e-mails, work papers, inter and
24   intra-office communications to, between or among directors, officers, agents or employees,
     transcripts, minutes, reports, and recordings of telephone or other conversations or of interviews
25
     or of conferences, or of committee meetings, or of other meetings, agreements, contracts, invoices,
26   statistical records, data sheets, computer tapes or disks, magnetic tapes, punch cards, computer
27   printouts, computer programs, computer program coding sheets, microfilms, microfiche, all other
     records kept by electronic, photographic or mechanical means, and things similar to any of the
28
     foregoing, regardless of their author or origin, of any kind. THE TERM “DOCUMENT”



                                                     -3-
 1
     INCLUDES ALL COPIES OF A DOCUMENT WHICH CONTAIN ANY ADDITIONAL
     WRITING, UNDERLINING, NOTES, DELETIONS, OR ANY OTHER MARKINGS OR
 2   NOTATIONS, OR ARE OTHERWISE NOT IDENTICAL COPIES OF THE ORIGINAL.
 3
 4          "Network" means the Texas Pregnancy Care Network.

 5
            “Production Date” means the first date upon which you produce documents in accordance
 6   with these Requests.
 7
            “Related To” or “Relating To” a given subject is to be construed broadly and includes
 8
     any item that identifies, describes, deals with, comments upon, or is pertinent to that subject in
 9   any way.
10
            “You” or “Your” means Texas Pregnancy Care Network and its agents, affiliates,
11
12   subsidiaries, parent companies, representatives, employees, managers, members, shareholders and
13   attorneys.
14
                     3.     REQUESTED DOCUMENTS AND INFORMATION
15
     Please produce copies of the following:
16
17      1. Agreements:
             o Any and all agreements between the Network and any Defendant, including but
18              not limited to licensing agreements for or related to breastfeeding or newborn care
19              Content from January 1, 2019 to present.
             o All subcontractor agreements with any Defendant involving the distribution or use
20              of any breastfeeding or newborn care Content of any kind from January 1, 2019 to
21              present.
22      2. Communications:
23           o All communications between the Network and any Defendant related to
               breastfeeding or newborn care Content, including but not limited to emails, letters,
24             and meeting minutes from January 1, 2019 to present.
25           o All communications between the Network and any other entity or individual
               involving breastfeeding or newborn care Content acting on behalf of any
26             Defendant from January 1, 2019 to present.
             o All communications related to requests for edits or clarifications on breastfeeding
27
               or newborn care Content from the Network to any Defendant from January 1,
28             2019 to present.



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 1
     3. Payment Records:
 2         o Documents and communications related to any payments made to any Defendant
             for the licensing, distribution, or use of breastfeeding or newborn care Content
 3
             from January 1, 2019 to present.
 4         o Documents and communications of any payments made to any Defendant related
             to any services provided by any Defendant to the Network related to breastfeeding
 5
             or newborn care Content from January 1, 2019 to present.
 6
     4. Access and Distribution Logs:
 7
           o Any logs or records showing access to or distribution of breastfeeding or newborn
 8            care Content provided by any Defendant to, or on behalf of, the Network from
              January 1, 2019 to present.
 9
           o Any logs or records showing edits or clarifications made on any breastfeeding or
10            newborn care Content provided by any Defendant to the Network from January 1,
              2019 to present.
11
12   5. Educational Materials:
          o Copies of all educational materials (e.g., videos, written materials) provided by
13           any Defendant relating to breastfeeding or newborn care Content provided to, or
14           distributed by, the Network or any of its subcontractors from January 1, 2019 to
             present.
15
16
     6. Certifications & Approvals:
17         o Copies of any certifications, licenses, or approvals provided by the Network to any
18             Defendant relating to breastfeeding or newborn care Content from January 1, 2019
               to present.
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